             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     STATESVILLE DIVISION
                        5:22-cv-00156-MR

AUSTIN REID PITTMAN,                       )
                                           )
                  Plaintiff,               )
                                           )                    ORDER
v.                                         )
                                           )
JEFFREY CLAWSON,                           )
                                           )
                 Defendant,                )
__________________________________         )

      This matter is before the undersigned following a telephonic judicial

settlement conference, which was conducted on November 14, 2024.

      For the reasons discussed with all participants and to give the parties an

opportunity to engage in additional settlement discussions directly, the

conference is RECESSED.

      The parties shall file, on or before December 16, 2024, a joint report

advising of the status of this matter including, for example, whether they have

reached an agreement on all issues, have determined that additional

settlement discussions would not be productive and believe that an impasse

should be declared, or have made progress toward an agreement but request

that the judicial settlement conference be reconvened with the undersigned

(and, if so, whether such conference should be expanded to include any other

pending cases).

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It is so ordered.

                        Signed: November 14, 2024




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